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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


                                                  03 MDL 1570 (RCC)
In re Terrorist Attacks on September 11, 2001     ECF Case


This document relates to:

Ashton v. Al Qaeda Islamic Army, 02 CV 6977 (RCC)
Thomas Burnett, Sr. v. Al Baraka Investment & Develop. Corp., 03 CV 9849 (RCC)
Federal Insurance Co. v. al Qaida, 03 CV 6978 (RCC)


                                            ORDER

       THIS MATTER having come before the Court on Joint Motion of Plaintiffs Federal

Insurance, Ashton and Burnett for an Order authorizing Plaintiffs to effectuate service of process

by publication on defendants specified in Attachment A for whom an address or location to serve

the Summons and Complaint is unknown and cannot be ascertained through reasonable means or

was attempted and rejected or otherwise not responded to at an address that was discovered, and

the Court having determined that good cause exists for the relief sought;

       IT IS hereby ORDERED that Joint Plaintiffs’ Motion for Leave to Serve Specified

Defendants by Publication Pursuant to Fed. R. Civ. Pro. 4(f)(3) is GRANTED, to commence on

or after September 13, 2004 and the publication will be once per week for four consecutive

weeks in the International Herald Tribune, USA Today and at least one Arabic language

newspaper circulated widely in the Middle East, as well as posting the complaint on the web site

www.sept11terrorlitigation.com.


                                                            SO ORDERED:


DATED: ______________                                       ______________________________
                                                                                   U.S.D.J.
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                                    ATTACHMENT A

Aaran Money Wire Service Inc.
Abbas Abdi Ali
Abd al-Hadi al-Iraqi
Abd Al Samad Al-Ta’Ish
Abd Al-Mushin Al-Libi
Abd Al-Rahim Al-Nashiri
Abdullah Omar Naseef
Abdalrahman Alarnout Abu Aljer a/k/a Abu Obed
Abdel Barry
Abdel Hussein a/k/a The Ghost
Abdelghani Mzoudi
Abdelhalim Remadna
Abdelkarim Hussein Mohamed Al-Nasser
Abdi Adulaziz Ali
Abdirasik Aden
Abdul Aziz Al Ibrahim a/k/a Al Ibrahim
Abdul Fattah Zammar
Abdul Rahman Al Swailem
Abdulrahman Alamoudi
Abdul Rahman Bin Mahfouz
Abdul Rahman Khaled Bin Mahfouz
Abdul Rahman Yasin
Abdul Rahim Mohammed Hussein
Abdula Bin Laden
Abdulaziz Bin Abdul Rahman Al Saud
Abdulaziz Bin Hamad Al Gosaibi
Abdulla Al Obaid
Abdulla Bin Khalid Al Thani
Abdullah Ahmed Abdullah
Abdullah Bin Abdul Muhsen Al Turki a/k/a Al Turki
Abdullah Bin Said
Abdullah Bin Saleh Al-Obaid
Abdullah M. Al-Mahdi
Abdullah Omar Naseef
Abdullah Samil Bahmadan a/k/a Abdullah Salim Bahmadan
Abdullah Sulaiman Al-Rajhi
Abdullah Qassim
Abdullahi Hussein Kahie
Abdulrahman Hassan Sharbatly
Abelmagne Ali Eldeen
Abrash Company
Abu Abdul Rahman
Abu Agab
Abu Aljer Abdalrahman Alarnaout a/k/a Abu Obed
Abu Al-Maid
Abu Hafs the Mauritanian
Abu Hajer Al Iraqi
Abu Hamza Al-Masri
Abu Ibrahim Al-Masri


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Abu Musab Al-Zarqawi
Abu Qatada Al-Filistini
Abu Rida Al Suri
Abu Sayef Group
Abu Sulayman
Abu Wa’el a/k/a Sadoun Abdul Latif
Abu Zubaydah
Adel Ben Soltane
Adel Muhammad Sadiq Bin Kazem
Adnan Basha
Advice and Reformation Committee
Afamia, SL
Afghan Support Committee
Agus Budiman
Ahmad Ajaj
Ahmad Al Harbi
Ahmad Ibrahim Al-Mughassil
Ahmad Sa’Id Al-Kadr
Ahmad Salah
Ahmed Hasni Rarrbo
Ahmed Ibrahim Al Najjar
Ahmed Khalfan Ghailani
Ahmed Khalil Ibrahim Samir Al-Ani
Ahmed Mohammed Hamed
Ahmed Nur Ali Jim’ale
Ahmed Ressam
Ahmed Totonji
Ahmed Zaki Yamani
Akida Bank Private Limited
Akida Investment Co. Ltd.
Al Amn Al-Dakhili
Al Amn Al-Khariji
Al Anwa
Al Baraka Exchange LLC
Al Barakaat Bank
Al Farooq Mosque
Al Gama’a al-Islamiyya
Al Khaleejia for Expert Promotion and Marketing Company
Al Qaida a/k/a Al Qaeda Islamic Army
Al Shamal For Investment and Development
Al Shamal Islamic Bank
Al Taqwa Trade, Property and Industry Company Limited
Al Taqwa/Nada Group
Al Tawhid
Al-Barakaat
Al-Barakat Bank of Somalia (BSS)
Al-Barakat Finance Group
Al-Barakat Financial Holding Co.
Al-Barakat Global Telecommunications
Al-Barakat Group of Companies Somalia Limited
Al-Barakat International a/k/a Baraco Co


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Al-Barakat Investments
Al-Bir Saudi Organization
Al-Birr
Al-Hamati Sweets Bakeries
Al-Haramain Islamic Foundation
Al-Hijrah Construction and Development Limited
Al-Itihaad al-Islamiya (AIAI)
Al-Mustaqbal Group
Al-Nur Honey Press Shops a/k/a Al-Nur Honey Center
Al-Rashid Trust
Al-Shaykh Al-Iraqi
Al-Shifa’ Honey Press for Industry and Commerce
Al-Watania Poultry
Albert Fredrich Armand Huber a/k/a Ahmed Huber
Algerian Armed Islamic Group
Ali Atwa a/k/a Ammar Mansour Bouslim
Ali Ghaleb Himmat
Ali Saed Bin Ali El-Hoorie
Amin Al-Haq a/k/a Dr. Amin Ah Haq
Anas Al-Liby
Ansar al-Islam
Aqeel Al-Aqeel
Arab Cement Company
Arafat El-Asahi
Ary Group
ASAT Trust
ASAT Trust Registered
Asbat al-Ansar
Ayman al-Zawahiri
Azzam Service Center

BA Taqwa for Commerce and Real Estate Company Ltd.
Bakr M. Bin Laden
Bank of Taqwa Limited a/k/a Bank Al Taqwa Limited a/k/a Al Taqwa Bank
Baraka Trading Company
Barakaat Boston
Barakaat Construction Company
Barakaat Enterprise
Barakaat Group of Companies
Barakaat North America, Inc.
Barakaat Red Sea Telecommunications
Barakaat Telecommunications Co. Somalia
Barakat Bank and Remittances
Barakat Computer Consulting (BCC)
Barakat Consulting Group (BCG)
Barakat Global Telephone Company
Barakat International Companies (BICO)
Barakat Post Express (BPE)
Barakat Refreshment Company
Barakat Telecommunications Company Limited (BTELCO)
Barakat Wire Transfer Company


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Barako Trading Company, LLC
Bashsh Hospital
Bassam Dalati Satut
Benevolence International Fund
Benevolence International Foundation Canada
Benevolence International Foundation USA
Bensayah Belkacem
Bilal Bin Marwan
Blessed Relief Foundation
Bosanska Idealna Futura
Bosnia-Herzegovina branch of Al-Haramain Islamic Foundation
Brahim Ben Hedili Hamami

Cemsteel Impex Establishment
Chiheb Ben Mohamed Ayari
Cobis
Contratas Gioma

Dahir Ubeidullahi Aweys
Dallah Avco Trans Arabia Co. Ltd.
Dar Al Maal Al Islami (DMI)
Dar Al Maal Al Islami Trust
Dr. Mahmoud Dakhil
Dr. Mohaman Ali Elgari
Dubai Islamic Bank

Egyptian Islamic Jihad
Essabar Zakariya Essabar
Essam Al Ridi
Eurocovia Obras, S.A.

Fahad Al-Thumairy
Fahid Mohammed Ally Msalam
Faisal Islamic Bank
Faruq Al-Hijazi
Fazeh Ahed
Fazul Abdullah Mohammed
Fethi Ben Rebai Masri
Fouzi Jendoubi

Garad Jama
Ghasoub Al Abrash Ghalyoun a/k/a Abu Musab
Global Diamond Resource
Global Relief Foundation a/k/a Foundation Secours Mondial
Grove Corporate Inc.
Gulbuddin Hekmatyar
Gulf and African Chamber
Gulf Center S.R.L.
Gum Arabic Company Limited

Habib Faris Abdullah Al-Mamouri


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Habib Waddani
Haji Abdul Manan Agha
Haji Mohamad Akram
Hamad Hussaini
Hamas
Hani Ramadan
Hasan Izz-Al-Din
Hashim Abdulrahman
Hassan A.A. Bahfzallah
Hassan Dahir Aweys
Hassan Al Turabi
Haydar Mohamed Bin Laden
Hazem Ragab
Help African People
Heritage Education Trust
Heyatul Ulya
Hezb-e-Islami
Hisham Arnaout
Human Concern International Society
Hussein Mahmud Abdullkadir

Ibn al-Shaykh al-Libi
Ibrahim bah
Ibrahim Bin Abdul Aziz
Ibrahim Bin Abdul Aziz Al Ibrahim Foundation
Ibrahim Hassabella
Ibrahim Muhammed Afandi
Ibrahim S. Abdullah
Ibrahim Salih Mohammed Al-Yacoub
Ihab Ali
Imad Eddin Barakat Yarkas a/k/a Abu Dahdah
Imad Mughniyeh
Infocus Tech of Malaysia
Institute of Milan a/k/a Instituto Culturale Islamico DeMilano International a/k/a Mercy
International Development Foundation
Iqbal Yunus
Iraqi Intelligence Agency a/k/a The Mukhabarat
Islamic African Relief Agency
Islamic Army of Aden
Islamic Cultural Center of Geneva
Islamic Cultural Institute of Milan
Islamic International Brigade
Islamic Movement of Uzbekistan
Iss El-Din El Sayed

Jaish-I-Mohammed a/k/a Army of Mohammed
Jalil Shinwari
Jamal Ahmed Mohammed
Jamal Al-Badawi
Jamal Barzinji
Jamal Nyrabeh


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Jamil Qasim Saeed
Jam’Yah Ta’Awun Al-Islamia a/k/a Society of Islamic Cooperation
Jemaah Islamiya Organization

Khaled Bin Mahfouz
Khaled Nouri
Khalid Shaikh Mohammed
Khalid Sulaiman Al-Rajhi
Khalil A. Kordi
Khalil Jarraya

Lashkar I Janghvi
Lashkar Redayan-E-Islami
Lashkar-e Tayyiba
Lazhar Ben Mohammed Tlili
Lebanese Hezbollah
Liban Hussein
Lionel Dumont
Lujain Al-Iman

M.M. Padkook Company for Catering & Trading
M. Omar Ashraf
M. Yaqub Mirza
Mahdi Chamran Savehi
Mahmoud Jaballah
Makhtab al-Khidamat
Mamdouh Mahamud Salim a/k/a Abu Hajer Al Iraqi
Mamoun Darkazanli
Mamoun Darkazanli Import-Export Company
Mansour Thaer
Mansouri Al-Kadi
Masjed Al Madinah Al Munawarah
Maulvi Abdul Kabir
Mazin M.H. Bahareth
Mendi Kammoun
Mercy International Relief Agency
Miga-Malaysian Swiss
Mohamed Bayazid
Mohamed Albanna
Mohammad S. Mohammad
Mohammed Al Massari
Mohammed Al-Issai
Mohammed Alchurbaji
Mohammed Ali Hasan Al Moayad
Mohammed Ali Sayed Mushayt
Mohammed Amine Akli
Mohammed Bahareth
Mohammed Bin Abdullah Al-Jomaith
Mohammed Bin Faris
Mohammed Bin Laden Organization
Mohammed Chehade


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Mohammed Hussein Al-Amoudi
Mohammed Iqbal Abdurrahman
Mohammed Jaghlit
Mohammed Jamal Khalifa
Mohammed Khair Al Saqqa
Mohammed Khatib
Mohammed Mansour
Mohammed Nur Rahmi
Mohammed Omar Al-Harazi
Mohammed Salim Bin Mahfouz
Mohammed Sarkawi
Mohrez Amdouni
Mondher Baazaoui a/k/a Hamza
Moro Islamic Liberation Front
Mounir Ben Habib Jerraya
Mounir El-Motassadeq
Moussa Ben Amor Essaadi
Mufti Mohammed Rashid
Mufti Rashid Ahmad Ladehyanoy
Muhammad Abu-Islam
Muhammad Al-Hamati a/k/a Mohammad Hamdi Sadiq al-Ahdal a/k/a Abu Asim al-Makki
Muhammad Ashraf
Muhammad Atif
Muhammad Omar
Muhammad Salah
Muhammed Galeb Kalaje Zouaydi a/k/a Abu Talha
Muhammed J. Fakihi
Muhammed Mahdi Salah
Muhsin Musa Matwalli Atwah
Mullah Kakshar
Mushayt for Trading Establishment
Muslim Brotherhood
Mustaf Ahmed Al-Hisawi
Mustafa Al-Kadir
Mustafa Mohamed Fadhil
Mustafa Muhammed Ahmad a/k/a Shaykh Sai’id a/k/a Mustafa Ahmed Al-Hasawi
Mustasim Abdel-Rahim
Muwaffaq Foundation a/k/a Blessed Relief Foundation
Muzaffar Kahn

Nabil Benattia
Nada International Anstalt
Nada Management Organization
Nada Management Organization, SA
Najib Ouaz
Nascoservice S.R.L.
Nasco Nasreddin Holding A.S.
Nascotex S.A.
Nasreddin Company Nasco SAS Di Ahmed Idris Nassneddin EC
Nasreddin Foundation
Nasreddin Group International Holding Ltd.


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Nasreddin International Group Limited Holding
National Development Bank
National Fund for Social Insurance
National Islamic Front
National Management Consultancy Center
Nedal Saleh a/k/a Hitem
New Diamond Holdings
Noor Jalil
Nurjaman Riduan Ismuddin a/k/a Hambali

Omar Abu Omar
Omar Al-Bayoumi
Omar M. Bin Laden
Omar Sulaiman Al-Rajhi
Osama Bassnan

Palestine Islamic Jihad
Parka Trading Company
Perouz Seda Ghaty
Piedmont Poultry
Promociones Y Construcciones Tetuan Pricote, S.A.
Proyectos Edispan
Proyectos Y Promociones Iso
Proyectos Y Promociones Pardise, S.L.

Queen City Cigarettes and Candy

Rabin Haddad
Rachid Fehar
Raed Hijazi
Ramzi Mohammed Abdullah Binalshibh a/k/a Ramzi Mohamed Abdallah Omar
Rashid M. Al Romaizan
Red Crescent Saudi Committee
Red Sea Barakat Company Limited
Riyadus-Salikhin Recognizance and Sabotage Battalion of Chechen Martyrs

S.M. Tufail
Saar Foundation
Sabir Lamar
Saddam Hussein
Safar Al-Hawali
Said Bahaji
Saif Al-Adel
Saif Al Islam El Masry
Salafist Group for Call and Combat
Salah Badahdh
Salah Suleiman
Saleh Abdulaziz Al-Rajhi
Saleh Al-Hussayen
Saleh Gazaz
Saleh Mohamed Bin Laden


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Salem Bin Laden
Salman Al-Ouda
Sami Omar Al-Hussayen
Samir Kishk
Samir Salah
Sana-Bell, Inc.
Sanabel Al-Kheer, Inc.
Sanabil Al-Khair
Sanur Salah
Saqar Al-Sadawi
Saudi Bin Laden Group
Saudi Bin Laden International Company
Saudi Cement Company in Damman
Saudi Economic and Development Company
Saudi Joint Relief Committee
Saudi Red Crescent
Saudi Sudanese Bank
Sayf al-Adl
Sa’d Al-Sharif
Shahir Abdulraoof Batterjee
Shaykh Sa’id a/k/a Mustafa Muhammad Ahmad
Sheik Adil Galil Batargy a/k/a Adel Abdul Jalil Batterjee
Sheikh Abdullah Azzam a/k/a Abu Muhammed
Sheikh Abu Bdul Aziz Nagi
Sheikh Ahmed Salim Swedan
Sheikh Omar Bakri Muhammad
Sheikh Yusuf Al-Qardawi
Sherif Sedky
Soliman H.S. Al-Buthe
Somalia Branch of the Al-Haramain Islamic Foundation
Somalia Internet Company
Special Purpose Islamic Regiment
Sterling Charitable Gift Fund
Sterling Management Group, Inc.
Success Foundation
Sulaiman Al-Ali
Suleiman Abdel Aziz Al Rajhi a/k/a Sulaiman Abdul Aziz Al Rajhi
Syed Suleman Ahmer

Taba Investments
Tadamon Islamic Bank
Taha Yassin Ramadan
Taibah International Aid Association
Talal Mohammed Badkook
Tanzanite King
Tarek Ayoubi
Tarek M. Bin Laden
Tareq M. Al-Swaidan
Tariq Anwar al-Sayyid Ahmad
The Aid Organization of the Ulema
The Committee for the Defense of Legitimate Rights


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The Estate of Marwan Al-shehhi
The Estate of Fayez Ahmed
The Estate of Ahmed Al Ghamdi
The Estate of Hamza Al Ghamdi
The Estate of Mohald Al Shehri
The Estate of Satam M. A. Al Suqami
The Estate of Abdulaziz Al Omari
The Estate of Waleed M. Al Shehri
The Estate of Wail Al Shehri
The Estate of Mohammed Atta
The Estate of Khalid Al Midhar
The Estate of Nawaf Al Hazmi
The Estate of Hani Hanjour
The Estate of Salem Al Hazmi
The Estate of Majed Moqed
The Estate of Ziad Samir Jarrah
The Estate of Ahmed Ibrahim A. Al Haznawi
The Estate of Saeed Al Ghamdi
The Estate of Ahmed Al Nami
The Estate of Qusay Hussein
The Estate of Uday Hussein
The Taliban
Thirwat Salah Shihata
Turkistan Islamic Movement

Ulema Union of Afghanistan
Umar Faruq
Umma Tameer-E-Nau (UTN)
Usama Bin Laden a/k/a Osama Bin Laden

Wadi Al Aqiq
Wafa Humanitarian Organization
Walid Al-Sourouri
World Assembly of Muslim Youth

Yasin Al-Qadi
Yassine Chekkouri
Yassir Al-Sirri a/k/a Ammar
Yazid Sufaat of Kuala Lumpur Malaysia
Yeslam M. Bin Laden
Yousef Jameel
Youssef Abdaoui a/k/a Abu Abdullah a/k/a Abdellah a/k/a Abdullah
Youssef M. Nada & Co. Gesellschaft MBH
Youssef M. Nada Establishment
Youssef Nada a/k/a Youssef Mustafa Nada
Yusaf Ahmed Ali

Zacarias Moussaoui
Zahir H. Kazmi
Zakarya Essabar
Zakat Committee


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Ziyad Khaleel




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